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EXHIBIT 4
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

C-05-0037-JW

"THE APPLE IPOD ITUNES DECEMBER 16, 2008

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)
)

ANTI-TRUST LITIGATION." )
) PAGES 1 - 54
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THE PROCEEDINGS WERE HELD BEFORE

THE HONORABLE UNITED STATES DISTRICT
JUDGE JAMES WARE

APPEARANCE S:

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(APPEARANCES CONTINUED ON THE NEXT PAGE.)

OFFICIAL COURT REPORTER: IRENE RODRIGUEZ, CSR, CRR
CERTIFICATE NUMBER 8074

FOR THE PLAINTIFFS: COUGHLIN, STOIA, GELLER, RUDMAN &

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FIVE OF THOSE CEMETERIES ACTUALLY REQUIRED THAT A
PERSON WHO WANTED TO PURCHASE A CEMETERY LOT ALSO
PURCHASED A MARKER.

THE NINTH CIRCUIT HELD THAT THAT WAS
SUFFICIENT. AND THE NINTH CIRCUIT SAID THAT
RELYING UPON THE LEADING SUPREME COURT TYING CASES,
THE COURT SAID THE NINTH CIRCUIT, OUR READING OF
THE SUPREME COURT'S OPINIONS SUPPORTS THE VIEW THAT
COERCION MAY BE IMPLIED FROM A SHOWING THAT AN
APPRECIABLE NUMBER OF BUYERS HAVE ACCEPTED
BURDENSOME TERMS SUCH AS THE TYING PRODUCT MARKET.

COERCION OCCURS WHEN THE BUYER MUST
ACCEPT THE TIED ITEM AND FOREGO POSSIBLY DESIRABLE
SUBSTITUTES.

WE ALSO CITED A NUMBER OF OTHER CASES
SUPPORTING THE POINT MADE BY THE NINTH CIRCUIT IN
MOORE. FOR BXAMPLE, THE BAFUS CASE, WHICH WE CITE
IN OUR PAPERS, YOUR HONOR, CERTIFIED A CLASS ON THE
BASTS THAT THERE WAS AN APPRECIABLE NUMBER OF
BUYERS WHO WERE INFLUENCED BY THE TIE RATHER THAN
AN ABSOLUTE REQUIREMENT THAT EACH AND EVERY MEMBER
OF THE PROPOSED CLASS WAS BOUND BY THE TIE.

APPLE ALSO MAKES THE ARGUMENT THAT THE
TYING CLAIM CAN'T BE CERTIFIED BECAUSE OF WHAT IT

REFERS TO AS THE PACKAGE THEORY OF DAMAGES.

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APPLE RELIES ON AN ELEVENTH CIRCUIT CASE
WHICH CITES THE NINTH CIRCUIT'S SIEGLE CASE FOR THE
PROPOSITION THAT, WELL, IN SOME CASES A TIE
ACTUALLY REDUCES -- HAS THE EFFECT IT MAY INCREASE
THE PRICE OF THE TIED PRODUCT, BUT IT HAS THE
EFFECT OF REDUCING THE PRICE OF THE TYING PRODUCT.

IN OTHER WORDS, APPLE SAYS HERE YOU HAVE
TO DETERMINE WHETHER THE ITUNES VIDEO AND DIGITAL
DOWNLOADS WAS DECREASED AS A RESULT OF THE TIE.

WELL, THAT ISN'T REALLY A CORRECT
STATEMENT OF THE LAW IN THE NINTH CIRCUIT.

THE SIEGLE CASE INVOLVED THE CLASS. THE
NINTH CIRCUIT DID NOT OVERTURN THE CLASS DECISION
NOR DID THE NINTH CIRCUIT OVERTURN THE LIABILITY
JUDGMENT IN FAVOR OF THE PLAINTIFFS. RATHER, THE
NINTH CIRCUIT SAID THAT YOU HAVE TO TAKE THIS INTO
ACCOUNT IN CALCULATING THE AMOUNT OF DAMAGES.

SO IT IS MERELY A DAMAGES QUESTION AND AS
BLACKIE AND MANY OTHER NINTH CIRCUIT AND MANY OTHER
NORTHERN CALIFORNIA CASES HAVE HELD, EVEN IF THERE
ARE DAMAGES ISSUES, THAT DOES NOT PRECLUDE
CERTIFICATION OF A CLASS.

NOW, MOREOVER, THE SIEGLE CASE WAS A
LITTLE UNUSUAL BECAUSE THERE THERE WAS NO PRICE FOR

THE ALLEGED TYING PRODUCT. THE SO-CALLED TYING

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PRODUCT WAS THE USE OF THE TRADEMARK NAME CHICKEN
DELIGHT WHICH APPARENTLY HAD VALUE IN THE MARKET.

HERE, OF COURSE, PLAINTIFFS AND MEMBERS
OF THE CLASS PAID MONEY FOR THEIR ITUNES DIGITAL
VIDEO AND MUSIC DOWNLOADS.

WE ALSO HAVE A CLAIM FOR MONOPOLIZATION
BOTH FOR ATTEMPTED MONOPOLIZATION AND MONOPOLY
MAINTENANCE OR CREATION.

NOW, APPLE DOESN'T REALLY ADDRESS THIS
ARGUMENT AT ALL IN THEIR PAPERS. APPLE MERELY SAYS
THAT IT'S BASED ON OUR TYING THEORY, AND,
THEREFORE, IT FAILS FOR THE SAME REASONS.

WELL, IN FACT, PLAINTIFFS HAVE ALLEGED A
MONOPOLIZATION CLAIM THAT DON'T RELY SOLELY ON
THEIR TYING CLAIMS.

THERE ARE SEVERAL DIFFERENT ASPECTS OF
APPLE'S CONDUCT THAT PLAINTIFFS CONTEND ARE AND
WERE ANTICOMPETITIVE.

AND AS WE EXPLAINED IN OUR PAPERS, ALL OF
THE ELEMENTS OF THE PLAINTIFFS! MONOPOLIZATION AND
ATTEMPTED MONOPOLIZATION CLAIMS WILL BE PROVEN
RELYING ON EVIDENCE THAT IS COMMON TO THE CLASS
BECAUSE IT IS PRINCIPALLY, IF NOT ENTIRELY,
EVIDENCE THAT IS IN THE HANDS OF APPLE.

FIRST THE PLAINTIFF HAS TO SHOW THAT

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BE PROVED ON A CLASS WIDE BASIS OR WHETHER IT
REQUIRES INDIVIDUAL PROOF.

THE COURT: THAT I THINK IS THE ISSUE.
AND SO THE QUESTION THAT YOU'RE ASKING ME TO
RECONSIDER IS WHETHER OR NOT THE MARKET LEVEL
COERCION IS PERMISSIBLE IN THIS CASE, AND I'M
WILLING TO THINK ABOUT THAT MORE BECAUSE I DO THINK
THAT THAT IS AN IMPORTANT ISSUE TO ANSWER.

BUT IF I ANSWER THAT IT IS PERMISSIBLE,
DO YOU HAVE AN ARGUMENT THAT THERE IS NO MARKET
LEVEL COERCION?

MR. MITTELSTAEDT: THE ARGUMENT AT THAT
POINT IS HOW ARE THEY GOING TO PROVE MARKET LEVEL
COERCION? THEY NEED TO COME UP WITH A METHOD TO
PROVE THIS ON A CLASS WIDE BASIS AND THEY HAVEN'T
SUGGESTED ANY.

IT'S, YOU KNOW, WHETHER IT'S
INDIVIDUAL --

THE COURT: I THINK BY DEFINITION, MARKET
LEVEL COERCION IS CLASS WIDE.

MR. MITTELSTAEDT: WELL, BUT HOW DO THEY
PROVE COERCION?

IF I'M RIGHT THAT THE ELEMENTS OF THEIR
COERCED CONSUMER ARE AS SET FORTH HERE ON CHART

NUMBER 2, AND LET'S ADD TO IT WHAT I THINK [5

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IMPLICIT AND WHAT WAS SUGGESTED BY YOUR HONOR THAT
YOU HAVE TO KNOW THAT IF YOU BURN AND RIP, THEN YOU
CAN PLAY THE MUSIC ON A COMPETING PLAYER, LET'S ADD
THAT. THAT'S ANOTHER INDIVIDUAL ISSUE.

AND IN ORDER TO PROVE THAT I WAS COERCED
OR IN ORDER TO PROVE THAT, YOU KNOW, THE MARKET WAS
COERCED. AND AGAIN, THE MARKET IS JUST A BUNCH OF
INDIVIDUALS.

AND THERE'S -- YOU KNOW, IF YOU CAN'T
PROVE THAT I WAS COERCED WITHOUT ASKING ME AND
EXPLORING MY CIRCUMSTANCES, YOU CAN'T GET AWAY FROM
THAT. THE PLAINTIFFS CAN'T GET AROUND THAT BY JUST
SAYING, WELL, WE'RE NOT GOING TO LOOK AT
INDIVIDUALS. WE'RE GOING TO LOOK AT EVERYBODY AS A
GROUP BECAUSE WHEN YOU LOOK AT EVERYBODY AS A
GROUP, YOU STILL HAVE TO FIND OUT, YOU KNOW, WHY
DID YOU BUY YOUR IPOD? WERE YOU HAPPY TO BUY YOUR
IPOD?

I MEAN, SOME PEOPLE BUY AN IPOD BECAUSE
IT WORKS WELL WITH THE MUSIC STORE AND THEY'RE
DELIGHTED AND THEY WOULD NEVER BUY A COMPETING
PLAYER EVEN IF IT WAS AS EASY TO USE WITH THE MUSIC
STORE AS THE IPOD BECAUSE THE IPOD IS A REALLY
GREAT DEVICE.

SAME REASON ON CHART NUMBER 1. PEOPLE

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BUY AN IPOD WITHOUT REGARD TO THE MUSIC STORE.

SO YOU NEED TO ASK INDIVIDUAL BY
INDIVIDUAL AND THAT'S WHY, YOU KNOW, I'M NOT SAYING
TYING LAWS SHOULDN'T KEEP UP WITH THE TIMES BUT AN
ESSENTIAL ELEMENT OF TYING LAW AND CLASS
CERTIFICATION IS CAN YOU PROVE IT ON A CLASS WIDE
BASIS AND THEY DON'T HAVE A METHOD FOR DOING THAT,
ESPECIALLY IF YOU NEED INDIVIDUAL COERCION, BUT
EVEN IF YOU CALL IT MARKET COERCION, IT'S STILL A
GROUP OF INDIVIDUALS.

YOUR HONOR, LET ME JUST HIT TWO OTHER
POINTS QUICKLY. IT'S NOT RIGHT THAT COERCION IS
OUR ONLY ARGUMENT AS AN INDIVIDUAL ISSUE. AS
COUNSEL RECOGNIZES THIS NET OVERCHARGE IS ALSO A
REASON THAT THEY DON'T RECOGNIZE THAT THEY
ADDRESSED IT. BUT WE SAY THE NEED TO PROVE PROOF
OF INJURY OR THE FACT OF DAMAGE IN THE NINTH
CIRCUIT THAT NEEDS TO BE PROVED IN A TYING CASH ON
A PACKAGE BASTS. AND CHART NUMBER 7 SUMMARIZES THE
LAW ON THAT.

AND THE BASIC IDEA, AS SET FORTH BY THE
FREELAND CASE, THE AT & T CASE IN THE SOUTHERN
DISTRICT OF NEW YORK, IF A TIE CAUSES A BUYER TO
PAY MORE THAN THE MARKET PRICE FOR THE TIED

PRODUCT, THE BUYER IS MOST LIKELY PAYING LESS THAN

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THE PRICE THAT THE SELLER COULD OTHERWISE CHARGE
FOR THE TYING PRICE.

IN OTHER WORDS, THE PRICE ON THE FIRST
PRODUCT IS LOWER AND THAT'S BASIC ECONOMIC THEORY
FOR THE REASONS SET FORTH IN THE FREELAND CASE.

FREELAND DENIES CLASS CERTIFICATION
BECAUSE THE PLAINTIFF WAS UNABLE TO IDENTIFY A
METHOD TO DEMONSTRATE THAT THAT HAD NOT HAPPENED.

AND THE REASON THAT'S IMPORTANT IS A
CONSUMER IS NOT DAMAGES, IS NOT INJURED IF, IN
FACT, THERE'S BEEN A LOWERING OF THE PRICE ON THE
MUSIC WHICH IS OFFSET IN ANY INCREASE IN THE PRICE
OF THE IPOD. THAT'S THE LAW OF THE NINTH CIRCUIT
IN THE SIEGLE CASE AND THE ELEVENTH CIRCUIT CASE WE
CITE THERE IN THE BOTTOM BULLET SHOWS THAT. AND IT
INTERPRETS AND APPLIES THE NINTH CIRCUIT SIEGLE
RULE.

THE COURT: WELL, I WANT TO LEARN A LOT
MORE ABOUT THAT. IN OTHER WORDS, IF THE TIED -- IF
A TIE CAUSES A BUYER TO PAY MORE THAN THE MARKET
PRICE FOR THE TIED PRODUCT, THE BUYER IS MOST
LIKELY PAYING LESS THAN THE PRICE THE SELLER COULD
PROFITABLY CHARGE.

SO THAT IS -- IS THAT MORE OR LESS THAN

MARKET FOR THE TYING PRODUCT?

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MR. MITTELSTAEDT: LESS, LESS.

THE COURT: LESS THAN MARKET?

MR. MITTELSTAEDT: YES. AND THE IDEA IS
THAT ON DAY ONE YOU'RE SELLING THE FIRST PRODUCT.

THE COURT: BUT HOW DOES THAT FOLLOW
THERE'S NO DAMAGE? WHAT IF YOU REDUCE IT BY A
NICKEL AND SOMETHING ELSE IS SOLD AT A PREMIUM, HOW
DOES THAT MEAN THAT THERE IS NO DAMAGE?

MR. MITTELSTAEDT: YEAH, IT DEPENDS ON
THE SIZE OF THE OVERCHARGE AND THE SIZE OF THE --
THE SIZE OF THE OVERCHARGE AND THE SIZE OF THE
UNDERCHARGE IF YOU WILL.

THE COURT: RIGHT.

MR. MITTELSTAEDT: AND THE RELATIVE
NUMBER OF UNITS THAT YOU BUY OF EACH.

THE COURT: YES.

MR. MITTELSTAEDT: AND SO IN THE VISA
CASE THE PLAINTIFFS' EXPERT CAME IN AND SAID THAT
THERE'S NO UNDERCHARGE ON THE FIRST PRODUCT. AND
SO THE COURT SAID, OKAY, WE DON'T HAVE A PROBLEM
WITH A NET OVERCHARGE.

AND HERE WHEN I ASKED PROFESSOR NOLL,
WHAT ABOUT THE PRICE OF MUSIC, WAS THAT LOWERED?
AND HE SAID HE HASN'T STUDIED IT, HE DOESN'T

PROPOSE TO STUDY IT AND HE'S NOT GOING TO OFFER AN

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OPINION ON THAT.

SO THE BURDEN ON THE PLAINTIFFS IN THE
NINTH CIRCUIT AND THE ELEVENTH CIRCUIT IS TO SHOW
THAT THERE WAS A NET OVERCHARGE TAKING INTO
ACCOUNT, IN OUR CASE, THE AMOUNT OF MUSIC THAT AN
INDIVIDUAL CONSUMER BOUGHT, THE AMOUNT OF THE
UNDERCHARGE ON THAT, AND COMPARED WITH THE NUMBER
OF IPODS THAT THE PERSON BOUGHT AND THE OVERCHARGE
ON THAT. ,

THE COURT: WHY SHOULD I DEAL WITH THIS
AT THE CLASS CERTIFICATION?

MR. MITTELSTAEDT: WELL, FOR THE VERY
REASON, YOUR HONOR, THAT THE PLAINTIFFS DON'T DEAL
WITH IT.

THE REASON THEY DON'T DEAL WITH IT IS
THAT THE ONLY WAY TO ESTABLISH THIS FACT OF INJURY
IN A REGIME WHERE THE NET OVERCHARGE MUST BE SHOWN
ON A PACKAGE BASIS IS TO GO CONSUMER BY CONSUMER.

IT RAISES INDIVIDUAL QUESTIONS, WHICH [IS
WHAT THE FREELAND CASE HELD AND THAT'S WHY FREELAND
DENIED CERT. THE PLAINTIFFS RECOGNIZE THAT BECAUSE
THE RELATIVE AMOUNT OF PURCHASES MATTERS IN THIS
NET OVERCHARGE APPROACH, YOU HAVE TO GO INDIVIDUAL

BY INDIVIDUAL TO SEE WHETHER THEY BOUGHT ENOUGH

MUSIC TO MAKE UP FOR THE OVERCHARGE ON THE IPOD.

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THAT'S AN INDIVIDUAL QUESTION.

THERE'S NO CLASS WIDE WAY TO DO IT OR AT
LEAST THEY HAVEN'T PROPOSED ANY. AND THAT'S WHY AS
I SAY PROFESSOR NOLL JUST SAYS I'M NOT GOING TO
WORRY ABOUT THAT.

THE SECOND ARGUMENT ON FACT OF DAMAGES
LEADS TO THE SAME CONCLUSION. THE PLAINTIFFS AGREE
THAT AT LEAST ONE WAY OF PROVING TYING DAMAGES IS
TO LOOK AT THE DIFFERENCE OF PRICE BETWEEN THE IPOD
YOU WERE FORCED TO BUY AND THE COMPETING PLAYER YOU
WANTED TO BUY.

THAT'S WHAT THE LESSIG CASE DOES, AND
THAT'S WHAT THE GRAY CASE ALSO CITED DOES AND
THAT'S A RELATIVELY STRAIGHTFORWARD METHOD OF
PROVING DAMAGES.

THEY DON'T DO THAT. AND THE REASON THEY
DON'T DO THAT IS THAT, TOO, RAISES INDIVIDUAL
QUESTIONS.

AS SET FORTH IN OUR PREVIOUS ORDER TO
PROVE THAT, YOU HAVE TO GO INDIVIDUAL BY INDIVIDUAL
SAYING WHAT PLAYER DID YOU WANT TO USE AND DID YoU
WANT TO BUY AN IPOD AND WHAT WAS THE DIFFERENCE IN
PRICE AND THAT RAISES AN INDIVIDUAL QUESTION AND SO
THEY DON'T DO THAT.

THAT'S ANOTHER REASON WHY THE CLASS --

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